963 F.2d 1521
    Sagastumev.INS
    NO. 91-4203
    United States Court of Appeals,Second Circuit.
    Apr 06, 1992
    
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      Appeal From:  I.N.S.
    
    
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      ENFORCED.
    
    
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      Federal Reporter.  The Second Circuit provides by rule for
    
    
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      disposition by summary order when a decision is unanimous
    
    
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      and each judge believes that 'no jurisprudential purpose
    
    
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      would be served by a written opinion.' Decisions without
    
    
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      formal opinions 'shall not be cited or otherwise used in
    
    
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      unrelated cases.' Second Circuit Rules, § 0.23, 28 U.S.C.A.)
    
    